     Case 3:19-cv-04424-MCR-HTC Document 128 Filed 10/08/21 Page 1 of 22

                                                                        Page 1 of 22


                     UNITED STATES DISTRICT COURT
                     NORTHERN DISTRICT OF FLORIDA
                          PENSACOLA DIVISION

DAVID BEAR,

      Plaintiff,

v.                                               Case No. 3:19cv4424-MCR-HTC

ESCAMBIA COUNTY BOARD OF
COUNTY COMMISSIONERS and
DOUGLAS B. UNDERHILL,

     Defendants.
___________________________________/

                     REPORT AND RECOMMENDATION

      This matter is before the Court on an order re-referring Plaintiff’s Renewed

Motion for Expedited Hearing to Compel Defendants’ Responses to Plaintiff’s

Public Records Requests (ECF Doc. 74) for a merits report and recommendation

fully resolving the motion. ECF Doc. 126.

      I.     BACKGROUND

      Plaintiff David Bear (“Bear”) filed a seven-count First Amended Complaint

against Defendants, Doug Underhill (“Underhill”) and the Escambia County Board

of County Commissioners (“ECBCC”). ECF Doc. 18. Plaintiff sues Underhill in his
    Case 3:19-cv-04424-MCR-HTC Document 128 Filed 10/08/21 Page 2 of 22

                                                                                     Page 2 of 22


individual and official capacity as a commissioner. In Counts I–IV, 1 Bear alleges

Defendants violated Chapter 119 of the Florida Statutes for failing to properly

respond to the following three (3) public records request:

       1. In April 2019, Bear sent a request to County Attorney Rogers via text
          message, seeking all documents from Commissioner Underhill related to
          the County’s social media policy and communications from Rogers to
          individual commissioners regarding the social media policy.2 Although
          Defendants produced some documents in response to the request, Bear
          claims the production is incomplete.

       2. On June 3, 2019, Bear submitted a request via the Commissioner Doug
          Underhill Facebook page, seeking all Facebook messages between March
          1, 2019, and June 3, 2019, mentioning Bear or his family. Bear did not
          communicate this request to the ECBCC until August, when his counsel
          sent a letter to Commissioner Underhill and the ECBCC. 3 The ECBCC did
          not produce any documents in response to this request. Commissioner
          Underhill responded with some documents two (2) months later. Bear
          contends the production is incomplete.

       3. In August 2019, Bear submitted a third request via email to Underhill,
          seeking a complete history of all posts made to the Douglas Underhill
          Facebook account. Bear subsequently amended the request to limit it to a
          history of all posts related to Underhill’s public duties, activities, and work
          as a county commissioner. In June 2020, Underhill produced to Bear a flash
          drive with several thousand pages of documents; however, based on the
          bates numbers, approximately 24,000 pages had been removed. Defendants

1
  In Counts V–VII, Bear alleges Defendants violated Plaintiff’s First Amendment constitutional
rights by preventing Plaintiff from seeing or accessing certain Facebook pages. Those claims are
irrelevant to this report and recommendation.
2
  The County adopted a Technology Policy on August 20, 2009, which prohibited commissioners
from discussing county business on social networking sites but allowed for commissioners to post
a story or comment on social media under the commissioner’s actual name as long as no other
commissioner had also posted a comment or response to the same article or issue. The Policy also
required the County to retain a copy of the post. The Policy was dropped by the ECBCC on or
about May 16, 2019.
3
  The request was not limited to County matters sent in Underhill’s capacity as a commissioner, or
related to Underhill’s duties as a commissioner. Thus, the request is not one for public records.


Case No. 3:19cv4424-MCR-HTC
    Case 3:19-cv-04424-MCR-HTC Document 128 Filed 10/08/21 Page 3 of 22

                                                                                    Page 3 of 22


           argue the removed pages are not public records. Those 24,000 pages are at
           the heart of the motion to compel and Counts I-IV.

       As relief on those counts, Plaintiff seeks an accelerated hearing, a declaration

Defendants violated Chapter 119, an order requiring immediate compliance and an

award of fees and costs. ECF Doc. 18. Similarly, as relief in Plaintiff’s renewed

motion for hearing and to compel, Plaintiff seeks an expedited hearing, an order

compelling the production of the public records requested, and an award of fees and

costs. ECF Doc. 74 at 9.

       Under Florida Statute 119.11 of the Florida Public Records Act, when an

action is filed to enforce the provisions of Chapter 119, the court in which the action

is filed “shall set an immediate hearing,” to determine whether records should be

produced. Fla. Stat. § 119.11. Thus, the undersigned granted the motion for hearing

and held an evidentiary hearing on February 1, 2021. 4 After considering the

evidence presented at the evidentiary hearing, the parties’ written submissions (ECF

Docs. 83, 84, 85, 87, 88, 89, 90), and conducting an in camera review of over 24,000




4
  Attending the hearing were attorneys J.J. Talbot and Erik Figlio, representing Bear, who was
also in attendance; attorney Joe Hammons, representing the ECBCC and Commissioner Underhill
in his official capacity, and Charles Peppler, as representative for the ECBCC; and attorneys Ed
Fleming and Matthew Bush, representing Underhill, in his individual capacity, who was also in
attendance. The following witnesses testified at the hearing: Plaintiff David Bear; Mary Grace
Rahm, an attorney at Clark Partington who was hired by the ECBCC to retrieve information from
the Underhill Facebook pages; County Attorney Alison Rogers; Kristin Hual, an associate attorney
for the County; and Defendant Commissioner Underhill.



Case No. 3:19cv4424-MCR-HTC
       Case 3:19-cv-04424-MCR-HTC Document 128 Filed 10/08/21 Page 4 of 22

                                                                                      Page 4 of 22


pages of downloaded messages and posts from Facebook, the undersigned entered

an order granting the motion to compel. ECF Doc. 93.

         Defendants objected to the undersigned’s order. In the ECBCC’s objection 5,

the ECBCC disagreed with the undersigned’s definition of a public record and also

her finding that the ECBCC’s counsel had not reviewed the documents at issue prior

to determining they were not public records. ECF Doc. 98. Underhill, in his

individual capacity, also filed an objection, arguing, among others, that the order

should have been issued as a report and recommendation (and thus reviewed de

novo) because the undersigned’s determination of what constitutes a public record

is dispositive of Counts I-IV. ECF Doc. 99.

         On September 8, 2021, the District Judge determined Defendants’ objections

were moot on two grounds. ECF Doc. 126. First, Underhill already produced

documents identified by the undersigned as constituting public records; thus, even

if the District Judge were to sustain Defendants’ objections, it would have no

practical import. Second, the District Judge agreed the undersigned’s public records

determination was partially dispositive of the claims in Counts I and IV, and thus

Plaintiff’s motion to compel really sought a merits determination. Thus, the District

Judge found Defendants’ objections to be moot and subject to renewal pending this




5
    This objection was filed on behalf of the ECBCC and Underhill, in his capacity as commissioner.


Case No. 3:19cv4424-MCR-HTC
    Case 3:19-cv-04424-MCR-HTC Document 128 Filed 10/08/21 Page 5 of 22

                                                                             Page 5 of 22


report and recommendation. Also, the District Judge referred the motion to compel

back to the undersigned “to resolve the motion in full.” ECF Doc. 126 at 4.

      II.    THE FLORIDA PUBLIC RECORDS LAW

      The people’s right to public records is derived from Article I, Section 24(a) of

the Florida Constitution, which provides:

      Every person has the right to inspect or copy any public record made or
      received in connection with the official business of any public body,
      officer, or employee of the state, or persons acting on their behalf, except
      with respect to records exempted pursuant to this section or specifically
      made confidential by this Constitution.

That constitutional provision is implemented through Chapter 119 of the Florida

Statutes, known as the Florida Public Records Act. See Fla. Stat. § 119.01 (“It is the

policy of this state that all state, county, and municipal records are open for personal

inspection and copying by any person. Providing access to public records is a duty

of each agency.”).

      Section 119.011 defines “public records” as “all documents, papers, letters,

maps, books, tapes, photographs, films, sound recordings, data processing software,

or other material regardless of the physical form, characteristics, or means of

transmission, made or received pursuant to law or ordinance in connections with the

transaction of official business by any agency.” Fla. Stat. Ann. § 119.011(12).

      In Shevin v. Byron, Harless, Schaffer, Reid & Assocs., Inc., 379 So. 2d 633

(Fla. 1980), the Florida Supreme Court added context to that definition and held that



Case No. 3:19cv4424-MCR-HTC
    Case 3:19-cv-04424-MCR-HTC Document 128 Filed 10/08/21 Page 6 of 22

                                                                                     Page 6 of 22


“a public record, for purposes of section 119.011(1), is any material prepared in

connection with official agency business which is intended to perpetuate,

communicate, or formalize knowledge of some type.” Shevin, 379 So. 2d at 640.

The court explained that this was in contrast to “materials prepared as drafts or notes,

which constitute mere precursors of governmental ‘records’ and are not, in

themselves, intended as final evidence of the knowledge to be recorded.”6 Id.

       The parties do not disagree it is the content rather than the medium in which a

record is created or transmitted that determines whether it is a public record. The

parties, however, disagree as to what constitutes “official agency business.”

Defendants argue Underhill’s posts and communications on Facebook, even those

sent to a constituent or relating to matters that may involve the ECBCC or come

before the ECBCC, are not the “official business” of the “agency” because the

ECBCC did not specifically authorize Underhill to create the record or speak on its

behalf.

       Specifically, the ECBCC argues in its post-hearing brief that because

individual commissioners “do not have the authority to act on behalf of the ECBCC



6
  The documents at issue in Shevin were papers belonging to an independent consulting firm hired
to conduct a nationwide search for applicants for the position of managing director for the
Jacksonville Electric Authority. After examining the documents at issue, the court concluded that
“letters, memoranda, resumes, and travel vouchers” were public records, but that the consultant’s
handwritten notes “are merely preliminary materials to aid the consultant when he later formalized
knowledge gained during the interview.” Id. at 641.



Case No. 3:19cv4424-MCR-HTC
    Case 3:19-cv-04424-MCR-HTC Document 128 Filed 10/08/21 Page 7 of 22

                                                                           Page 7 of 22


without a grant of authority by the collective body of the ECBCC,” only those posts

which were “‘prepared, owned, used, or retained’ within the scope of Douglas

Underhill’s authority as an ‘agent’ of the ECBCC” are public records. ECF Doc. 89

at 3. Thus, the ECBCC posits that the test is “whether the posts at issue were made

or received by Underhill in an agency capacity furthering the interests of the ECBCC”

as opposed to “posts related to Underhill’s communications and opinions regarding

matters of public importance.” Id. at 4. According to the ECBCC, as long as

Underhill is “acting on behalf of and furthering the interests of the ECBCC,” then the

post is a public record. Id. However, “records recreated by a commissioner related

to that commissioner’s political interests” are not public records. ECF Doc. 98 at 5

(objection to order).

      Similarly, Underhill argues that because the posts at issue were maintained “by

an individual Commissioner without direction, or authorization, of the agency” and,

in fact, in contravention of “the agency’s rule [forbidding] Commissioners from

communicating with constituents on Facebook,” they are not public records. ECF

Doc. 90 at 3, 6. Underhill argues the Facebook communications at issue “were, at

the very most, precursors to potential action by the agency by a Commissioner who

clearly had no authority to act on behalf of the agency, or to speak on behalf of the

agency, for a single view expressed on Facebook.” ECF Doc. 90 at 19.




Case No. 3:19cv4424-MCR-HTC
    Case 3:19-cv-04424-MCR-HTC Document 128 Filed 10/08/21 Page 8 of 22

                                                                           Page 8 of 22


      Bear, on the other hand, argues any social post or message sent or received by

Underhill that has anything to do with County business or that falls under a duty of a

commissioner constitutes a public record, regardless of whether it was posted on

Underhill’s personal Facebook page or the Commissioner Underhill page. This,

according to Bear, includes Underhill’s opinions on matters to be decided by the

ECBCC, involving County business, or involving any of a number of committees

Underhill serves on in his capacity as a commissioner. Bear also argues any posts

related to Underhill’s 2018 run for commissioner is a public record because Underhill

was a commissioner at the time, but agrees posts related to his 2014 run for

commissioner are not public records.

      Section 119.011(2) defines “agency” as “any state, county, district, authority,

or municipal officer, department, division, board, bureau, commission, or other

separate unit of government created or established by law . . . and any other public or

private agency, person, partnership, corporation, or business entity acting on behalf

of any public agency.” Fla. Stat. Ann. § 119.011(2) (emphasis added). In Shevin, the

court stated, “[A] business entity is ‘acting on behalf of’ a public agency if the

services contracted for are an integral part of the agency’s chosen process for making

a decision on the question at hand.” Shevin, 379 So. 2d at 635.

      Based on Shevin and the definition of “agency,” the undersigned finds that

commissioners, such as Underhill, are persons acting on behalf of the ECBCC when



Case No. 3:19cv4424-MCR-HTC
    Case 3:19-cv-04424-MCR-HTC Document 128 Filed 10/08/21 Page 9 of 22

                                                                            Page 9 of 22


they are communicating with constituents on County matters involving the ECBCC

or to be voted on by the commissioners.           It cannot be credibly disputed that

commissioners are an integral part of the ECBCC’s decision making process. Indeed,

the ECBCC concedes this fact. ECF Doc. 98 at 5. Thus, a commissioner can create

a public record regardless of whether the ECBCC specifically authorizes the record

to be created. See Op. Att’y Gen. Fla. 2007-14, 2007 WL 788160 (Feb. 27, 2007)

(opining that an email sent by a city commissioner in connection to a transaction with

official business that is intended to communicate, perpetuate, or formalize knowledge

of some type is a public record even though the email contains undisclosed or blind

recipients).

      In O’Boyle v. Town of Gulf Stream, 257 So. 3d 1036 (Fla. Dist. Ct. App. 2018),

the court held that “an elected official’s use of a private cell phone to conduct public

business via text messaging can create an electronic written public record subject to

disclosure” if the official or employee “prepared, owned, used, or retained it within

the scope of his or her employment or agency.” Id. at 1040–41. According to the

court, an official or employee’s communication falls “within the scope of

employment or agency” when the “job requires it, the employer or principal directs

it, or it furthers the employer or principal’s interests.” Id.

      Underhill does not dispute it is part of the scope of his duties as a commissioner

to communicate with constituents and provide them with information about matters



Case No. 3:19cv4424-MCR-HTC
   Case 3:19-cv-04424-MCR-HTC Document 128 Filed 10/08/21 Page 10 of 22

                                                                         Page 10 of 22


involving the ECBCC. This includes matters which he may be voting on, which will

be presented to the ECBCC, or which have already been voted on. Underhill does

not shy away from the fact that he communicates with constituents regarding County

business on his Facebook account and believes he has a right to do so. Thus, while

Underhill attempts to distinguish O’Boyle because the public official there was a

mayor and not a commissioner, the distinction is one without a difference.

      Of particular note and relevance to the issues here is Attorney General Opinion

2008-07. In that opinion, the Attorney General addressed several issues concerning

communications with and among commissioners on privately maintained websites,

including whether such communications are a public record. After quoting Chapter

119’s definition of “agency,” the Attorney General concluded that “a city council

member clearly is subject to the provisions of Chapter 119, Florida Statutes, when

making or receiving public records in carrying out official business.” Op. Att’y Gen.

Fla. 2008-07 (Feb. 26, 2008). The Attorney General went on to state:

      To the extent that the council member is publicly posting comments
      relating to city business, this office cannot conclude that such
      postings are not made in connection with the transaction of official
      business. Accordingly, I am of the opinion that such postings would
      be subject to the requirements of the Public Records Law. When
      considering with the discussion above, it would appear that the
      postings and emails of a city council member relating to his public




Case No. 3:19cv4424-MCR-HTC
      Case 3:19-cv-04424-MCR-HTC Document 128 Filed 10/08/21 Page 11 of 22

                                                                                        Page 11 of 22


        duties would be public records subject to the provisions of Chapter
        119, Florida Statutes. 7

Id.

        While Attorney General Opinions are not binding on the courts, the Florida

Supreme Court has held that such opinions are “entitled to careful consideration and

generally should be regarded as highly persuasive.”                     State v. Fam. Bank of

Hallendale, 623 So. 2d 474, 478 (Fla. 1993). Thus, the undersigned finds that a post

or message on Underhill’s Facebook account may constitute a public record if it was

created, received, or retained by Underhill in the scope of his duties as a

commissioner, relates to a County matter or to Underhill’s official duties, and was

intended to convey information or knowledge. This is true regardless of whether the

ECBCC specifically authorized Underhill to make such a post or comment. To

conclude otherwise would contravene the very purpose of the Public Records Act by

diminishing the transparency expected for those holding public office in carrying out

their official duties.

        Of course, not every social media post or message received, sent, or retained

by Underhill that simply references or mentions something related to the County is a



7
  The Attorney General goes on to find that the council member who creates the public documents
through the posted comments and emails is responsible for ensuring that the information is
maintained in accordance with the Public Records Law and the policies and retention schedule
adopted by the city, rather than the city because the city has no ownership, control, or affiliate with
the website. See Fla. Stat. 119.07(1)(a) (“Every person who has custody of a public record shall
permit the record to be inspected and copied . . . .”).


Case No. 3:19cv4424-MCR-HTC
   Case 3:19-cv-04424-MCR-HTC Document 128 Filed 10/08/21 Page 12 of 22

                                                                           Page 12 of 22


public record. As the court in O’Boyle noted, “employees do not generally act within

the scope of employment when they text their spouse about working late or discuss

their job on social media.” O’Boyle, 257 So. 3d at 1041. Similarly, in Butler v. City

of Hallendale Beach, 68 So. 3d 278 (Fla. Dist. Ct. App. 2011), the court held that an

email sent by the mayor distributing copies of an article she wrote as a contributor to

the South Florida Sun Times is not an email “made pursuant to law or in connection

with the transaction of official business by the City, or [] in her capacity as Mayor,”

even though it included as attachments transcripts of a State of the City Address and

an article about tax questions raised at a commission meeting. Butler, 68 So. 3d at

281.

       Because, as the Florida Supreme Court recognized, “it is impossible to lay

down a definition of general application that identifies all items subject to disclosure

under the act,” “the classification of items which fall midway on the spectrum of

clearly public records on the one end and clearly not public records on the other will

have to be determined on a case-by-case basis.” Shevin, 379 So. 2d at 640. In making

that determination, however, the Court is guided by the principle that the Public

Records Act “must be liberally construed in favor of access.” O’Boyle, 257 So. 2d

at 1040.




Case No. 3:19cv4424-MCR-HTC
    Case 3:19-cv-04424-MCR-HTC Document 128 Filed 10/08/21 Page 13 of 22

                                                                                     Page 13 of 22


       III.    The Court’s In Camera Inspection

       Underhill provided to the Court approximately 24,000 pages of documents,

consisting of over 8,000 items or individual .pdfs, for in camera inspection. 8 The

documents consist primarily of Facebook Messenger conversations between

Underhill and various Facebook Users, some of whom appear to be friends or social

acquaintances. As to those conversations, the documents were produced as single

.pdfs based on the Facebook User with whom Underhill was communicating. In other

words, if Underhill and User Jane Doe exchanged a handful of messages over a short

period of time, then the .pdf may consist of one page. If Underhill and User John

Doe, however, exchanged numerous messages over the course of a year or more, then

the .pdf may consist of hundreds of pages.

       Based on the undersigned’s review of each of the over 24,000 pages, the

undersigned finds they include public records which should have been produced. In

the ECBCC’s objection to the undersigned’s order, the ECBCC states that it “did not



8
  The proper procedure for determining whether a record is a public record is for the Court to
conduct an in camera inspection. See, e.g., Shevin, 379 So. 2d at 640 (concluding documents were
public records after examination of papers sealed by circuit judge); O’Boyle, 257 So. 3d at 1042;
Times Pub’g Co. v. City of Clearwater, 830 So.2d 844, 848 (Fla. Dist. Ct. App. 2002), approved
sub nom. State v. City of Clearwater, 863 So. 2d 149 (Fla. 2003) (affirming dismissal without
prejudice to Times seeking an in camera review of emails); Lorei v. Smith, 464 So. 2d 1330 (Fla.
Dist. Ct. App. 1985) (“The exclusive technique adopted by the legislature for the accomplishment
of the [Public Records] Act’s purposes is judicial intervention.”); Walton v. Dugger, 634 So. 2d
1059 (Fla. 1993) (“When, as in the instant case, certain statutory exemptions are claimed by the
party against whom the public records request has been filed or when doubt exists as to whether a
particular document must be disclosed, the proper procedure is to furnish the document to the trial
judge for an in camera inspection.”).


Case No. 3:19cv4424-MCR-HTC
     Case 3:19-cv-04424-MCR-HTC Document 128 Filed 10/08/21 Page 14 of 22

                                                                         Page 14 of 22


take the position that there were no public records among the approximately 24,000

pages retained by Underhill.” Id. at 6. Instead, as the ECBCC explains, it was merely

arguing that the “test” to be applied to those 24,000 pages is “whether the posts at

issue were made or received by Underhill in connection with furthering the interest

of the ECBCC.” Id. That is the very test the undersigned used. As discussed below,

the documents designated by the undersigned for production in the prior order were

limited to matters that would be addressed by or presented to the ECBCC. While the

messages reflect Underhill’s opinions about those official matters – opinions which

may be contrary to those of other commissioners, they are certainly more than

communications merely reflecting Underhill’s “political interests.” ECF Doc. 98 at

5.

       Specifically, the undersigned finds Facebook Messenger conversations

containing the following content constitute a public record:

       (1) Requests by constituents for Commissioner Underhill to take action or
requests from Commissioner Underhill for a constituent to act—this includes, for
example, a request from a resident for Commissioner Underhill to look into a matter
affecting the District or for Commissioner Underhill to consider voting a certain way
on a County matter, as well as requests from Commissioner Underhill for residents
to come out in support of a County issue and messages from Commissioner
Underhill identifying ways a Facebook User can communicate with;

       (2) General expressions of thanks by residents for Commissioner
Underhill’s service to the County—this includes, for example a constituent’s
appreciation for the manner in which Commissioner Underhill responded to an
issue;




Case No. 3:19cv4424-MCR-HTC
   Case 3:19-cv-04424-MCR-HTC Document 128 Filed 10/08/21 Page 15 of 22

                                                                        Page 15 of 22


       (3) Requests for information about County matters from constituents and
Commissioner Underhill’s response—this includes, for example, a request from a
constituent regarding whether District 2 covers certain areas and a request from a
business owner on his obligations under the COVID restrictions;

       (4) Expressions of disagreement or complaints by constituents of
Commissioner Underhill’s position on County matters—this includes, for example,
a constituent’s discontent due to being blocked from Underhill’s Facebook pages
after expressing her disagreement with him on a County matter and a constituent’s
discontent over something Commissioner Underhill said in an ECBCC meeting; and

       (5) Commissioner Underhill’s positions and opinions, including his
disagreement with constituents, on matters involving the County or to be decided by
the County—this includes, for example, Commissioner Underhill’s explanation to a
constituent about why he voted a certain way on a County matter, what he thinks the
ECBCC or its commissioners should do on certain County matters, and actions he
plans to take in his role as Commissioner.

      While Defendants seek to recast the .pdfs as containing rogue commentary

unrelated to “official agency business,” a commissioner cannot use his position as

both a shield and a sword.     Commissioner Underhill cannot use Facebook to

communicate with the public as a commissioner, with the authority and force of that

public position, and then seek to prevent such information from being disclosed as a

public record under the guise that the ECBCC did not specifically authorize him to

make the post or engage in the discussion. “The mandate to provide access to public

records takes precedence over disclosure of information that ‘may cause

inconvenience or embarrassment to public officials.’” Mechling v. City of Monroe,

222 P.3d 808, 821 (Wash Ct. App. 2009). Whether the ECBCC approved or

sanctioned Underhill’s use of social media does not remove the material from the



Case No. 3:19cv4424-MCR-HTC
   Case 3:19-cv-04424-MCR-HTC Document 128 Filed 10/08/21 Page 16 of 22

                                                                          Page 16 of 22


ambit of a public record. If it did, any commissioner could conduct County business

on social media without fear of violating the Public Records Act.

      In Times Publishing Co., the Second District Court of Appeal recognized

“[o]ur rapidly expanding digital world . . . has made accessible some types of

information that blur the line between public and private information.” Times Publ'g

Co. v. City of Clearwater, 830 So. 2d 844, 848 (Fla. Dist. Ct. App. 2002), approved

sub nom. State v. City of Clearwater, 863 So. 2d 149 (Fla. 2003). This is particularly

true here because Commissioner Underhill combined communications about County

business with personal communications, erecting few, if any, boundaries, between

his personal life and his role and duties as a commissioner. Thus, while some

communications with family members or friends are purely personal, some are not

and clearly arise out of Underhill’s role as a commissioner.

       However, the fact that a single .pdf may include both purely personal matters

and a discussion about matters relating to the County does not take the entire .pdf

out of the ambit of Chapter 119’s disclosure requirements. Likewise, it would be

unreasonable to construe an entire .pdf, which may consist of years of conversations

between Underhill and the Facebook User, as a “public record” just because one or

more conversations within that .pdf are subject to disclosure. Because many of the

.pdfs consist of multiple conversations over a period of time, they cannot be as easily




Case No. 3:19cv4424-MCR-HTC
   Case 3:19-cv-04424-MCR-HTC Document 128 Filed 10/08/21 Page 17 of 22

                                                                          Page 17 of 22


segregated into neat piles of private versus public matters, such as the case with text

messages or emails.

      For example, a .pdf which consists of 60 pages and includes conversations

that took place in 2013 before Underhill was elected commissioner and also

conversations in 2018 asking for Underhill to take action as a commissioner, is a

.pdf that consists of conversations that constitute a public record and conversations

that clearly do not qualify as a public record. In that example, the motion would be

granted as to those conversations occurring in 2018 but denied as to those occurring

in 2013. The 2013 messages, thus, would need to be redacted from the .pdf before

production.

      In the undersigned’s prior order, ECF Doc. 93, the undersigned divided the

documents it reviewed into three (3) categories: (1) those .pdfs which do not contain

any information qualifying as a public record under Chapter 119; (2) those .pdfs

which constitute public records, as defined herein; and (3) those .pdfs which include

a mix of public records and non-public records (i.e., purely personal conversations).

The undersigned ordered Defendants to produce documents identified in category

number 2.

      The undersigned further ordered Defendants to review the documents

identified in category 3 and to redact those “conversations” that are purely personal

and provide the redacted messages to the undersigned’s chambers. Subsequently,



Case No. 3:19cv4424-MCR-HTC
      Case 3:19-cv-04424-MCR-HTC Document 128 Filed 10/08/21 Page 18 of 22

                                                                                  Page 18 of 22


    Underhill provided those redacted messages to the undersigned’s chambers and the

    undersigned finds the redacted messages should be produced to the Plaintiffs.9

          While Underhill argues in his objection to the undersigned’s order that the

    undersigned’s definition is overly broad and “does not comport with Florida law,”

    ECF Doc. 99 at 7, that argument is not reflective of the documents the undersigned

    identified to be public records. As Underhill acknowledges the undersigned deemed

    only 129 pages of the 24,000 pages (less than 1%) as constituting public records.

    Moreover, while Defendants concede the only way to determine what is or is not a

    public record is by reviewing each document at issue; neither Underhill nor the

    ECBCC has identified which of the 129 documents the undersigned determined

    should be produced is not a public record.

         IV.    WAS THE FAILURE TO PRODUCE UNLAWFUL

         Although the undersigned determined in her prior order that Defendants

withheld public records, the undersigned did not make a determination as to whether

Defendants’ failure to produce those records was unlawful, such that an award of

attorneys’ fees would be warranted. As the District Judge noted, “[t]he Public

Records Act provides a civil action to compel production of public records and

allows for an award of attorney’s fees on a determination the agency “unlawfully”



9
 Because of the pending objection, the undersigned did not enter an order directing Underhill to
produce the redacted messages.


Case No. 3:19cv4424-MCR-HTC
   Case 3:19-cv-04424-MCR-HTC Document 128 Filed 10/08/21 Page 19 of 22

                                                                         Page 19 of 22


refused to disclose a public record.” ECF Doc. 126, n. 1 (citing B&L Serv., Inc. v.

Broward Cty., 300 So. 3d 1205, 1208-09 (Fla. Dist. Ct. App. 2020)).

      A refusal is unlawful and fees should be awarded in two circumstances: “first,

when a court determines that the reason proffered as a basis to deny a public records

request is improper, and second, when the agency unjustifiably fails to respond to a

public records request by delaying until after the enforcement action has

commenced.” Off. of State Att'y for Thirteenth Jud. Cir. of Fla. v. Gonzalez, 953

So. 2d 759, 764 (Fla. Dist. Ct. App. 2007) (finding latter circumstances existed

where production was not made until after lawsuit was filed). In 2016, the Florida

Supreme Court resolved a district split on whether a finding of bad faith was

necessary before fees could be awarded and, siding with the First District,

determined that it was not. See Bd. of Trustees, Jacksonville Police & Fire Pension

Fund v. Lee, 189 So. 3d 120, 123 (Fla. 2016) (“There is no additional requirement,

before awarding attorney's fees under the Public Records Act, that the trial court

find that the public agency did not act in good faith, acted in bad faith, or acted

unreasonably.”).

      In reaching its holding in Lee, the Florida Supreme Court analyzed the Public

Records Act’s legislative history, noting that prior to 1984, section 119.12 provided

that fees would be awarded if the agency “unreasonably refused” to produce public




Case No. 3:19cv4424-MCR-HTC
    Case 3:19-cv-04424-MCR-HTC Document 128 Filed 10/08/21 Page 20 of 22

                                                                          Page 20 of 22


records. Id. at 125. However, in 1984, the statute was amended to allow for fees if

the agency “unlawfully refused.” Id. at 126. As the court stated:

      The change to “unlawfully,” on the other hand, eliminated the potential that
      an award of attorney's fees would be denied just because the public agency
      acted reasonably in violating the Public Records Act. This is because an
      “unlawful[ ] refus[al],” by its common definition, encompasses any refusal
      not ‘permitted or recognized by’ the Public Records Act or some other law.
      See Black's Law Dictionary 1018 (10th ed.2014) (defining “lawful” as “[n]ot
      contrary to law; permitted or recognized by law”). The public agency's failure
      to comply, rather than its good or bad faith in doing so, became the relevant
      inquiry. The distinction created by section 119.12 is thus between “unlawful
      [ ] refus[als]” and lawful refusals—not between “unlawful[ ] refus[als]” and
      reasonable, inadvertent, or good faith refusals that are not, as the trial court
      stated in this case, “knowing, willful or malicious.”
Id. at 126.

      The undersigned finds the ECBCC did not unlawfully withhold public

records. Instead, as the evidence presented at the hearing showed, the ECBCC made

a request to Underhill, who was in possession, custody, and control of the records,

to produce the requested documents. The ECBCC also spent over $7,700 to pay

Clark Partington to assist it in downloading Underhill’s Facebook pages. As

discussed in the undersigned’s order on Plaintiff’s motion to compel discovery

documents relevant to Plaintiff’s first amendment claims, ECF Doc. 116, the

ECBCC met its obligation by asking Underhill to produce his Facebook posts.

Plaintiff has not shown there was more the ECBCC could do since it did not have

access to Underhill’s Facebook posts.




Case No. 3:19cv4424-MCR-HTC
   Case 3:19-cv-04424-MCR-HTC Document 128 Filed 10/08/21 Page 21 of 22

                                                                           Page 21 of 22


      Although Underhill’s failure to produce raises a closer question, the

undersigned finds Underhill also did not “unlawfully” refuse Bear access to public

records as to warrant the imposition of fees and costs. In New York Times Co. v.

PHH Mental Servs., Inc. 616 So. 2d 27 (Fla. 1993), the Florida Supreme Court was

asked to decide “whether a private entity acting on behalf of a public agency is

responsible for attorney’s fees under section 119.12(1), Florida Statutes (1987),

when that entity reasonably and in good faith denies a Chapter 119 request to inspect

records because the private entity’s status as an agency under the meaning of chapter

119 is unclear.” Id. at 29. The court determined it was not. As the court explained,

“[i]f it is unclear whether an entity is an agency within the meaning of chapter 119,

it is not unlawful for that entity to refuse access to its records.” Id.

      As discussed above, the focus of Underhill’s argument against production is

that he is not an “agency” and was not authorized by the “agency” to act on its behalf

in making any of the social media posts. While the undersigned finds Underhill’s

argument unavailing, the undersigned cannot say the argument was wholly

unreasonable. See id. at 30 (finding “PHH’s uncertainty as to its status as an agency

within the meaning of chapter 119 was both reasonable and understandable,” and

therefore it did not “unlawfully” refuse to produce records).




Case No. 3:19cv4424-MCR-HTC
   Case 3:19-cv-04424-MCR-HTC Document 128 Filed 10/08/21 Page 22 of 22

                                                                          Page 22 of 22


      Accordingly, it is RESPECTFULLY RECOMMENDED:

      1.     The Motion to Compel, ECF Doc. 74, be GRANTED as set forth herein

and in the undersigned’s prior order at ECF Doc. 93.

      2.     Underhill be directed to produce the redacted documents it provided to

the Court in March 2021.

      3.     Plaintiff’s request for fees and costs be DENIED because Defendants’

failure to produce was not unlawful under Chapter 119.

      DONE AND ORDERED this 8th day of October, 2021.

                                 s/ Hope Thai Cannon
                                 HOPE THAI CANNON
                                 UNITED STATES MAGISTRATE JUDGE



                            NOTICE TO THE PARTIES

       Objections to these proposed findings and recommendations must be filed
within fourteen (14) days of the date of the Report and Recommendation. Any
different deadline that may appear on the electronic docket is for the court’s internal
use only and does not control. An objecting party must serve a copy of its objections
upon all other parties. A party who fails to object to the magistrate judge’s findings
or recommendations contained in a report and recommendation waives the right to
challenge on appeal the district court’s order based on the unobjected-to factual and
legal conclusions. See 11th Cir. Rule 3-1; 28 U.S.C. § 636.




Case No. 3:19cv4424-MCR-HTC
